                                                                Case 2:16-cv-02795-JAT Document 31 Filed 02/10/17 Page 1 of 2




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                                                            Attorneys for Plaintiff
                                                          5

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                                                          7                            UNITED STATES DISTRICT COURT
                                                          8                                   DISTRICT OF ARIZONA
                                                          9
                                                               Robert McCoy, an individual,                No. 2:16-cv-02795-JAT
                                                         10
                                                                                      Plaintiff,
                                                         11                                                STIPULATION FOR
                                                               v.                                          DISMISSAL WITH PREJUDICE
                    3260 North Hayden Road | Suite 103
BLYTHE GRACE PLLC




                                                         12
                         Scottsdale, Arizona 85251




                                                               Petwin Hayden, LLC, an Arizona limited
                                                         13    liability company,
                                                         14                           Defendant.
                                                         15

                                                         16          Plaintiff Robert McCoy and Defendant Petwin Hayden, LLC stipulate and agree to
                                                         17   dismiss the above-captioned action with prejudice, each of the parties to bear their own
                                                         18   costs and attorneys’ fees.
                                                         19          DATED this 10th day of February, 2017.
                                                         20
                                                                                                      BLYTHE GRACE PLLC
                                                         21

                                                         22                                           s/Robert S. Reder
                                                                                                      Robert S. Reder
                                                         23                                           3260 North Hayden Road, Suite 103
                                                                                                      Scottsdale, Arizona 85251
                                                         24                                           Attorneys for Plaintiff

                                                         25                                           LAW OFFICE OF KELLI K. WILLIAMS

                                                         26                                           s/Kelli K. Williams_______________________
                                                         27                                           4150 North Drinkwater Boulevard, Ste. 410
                                                                                                      Scottsdale, Arizona 85251
                                                         28                                           Attorney for Defendant
                                                                Case 2:16-cv-02795-JAT Document 31 Filed 02/10/17 Page 2 of 2




                                                          1
                                                                                               Certificate of Service
                                                          2
                                                                    I certify that on this 10th day of February 2017, I electronically transmitted the
                                                          3

                                                          4
                                                              attached document to the Clerk’s Office using the CM/ECF system for filing and

                                                          5   transmittal of a Notice of Electronic Filing to all CM/ECF registrants:

                                                          6

                                                          7   s/Debbie Messing_________

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                    3260 North Hayden Road | Suite 103
BLYTHE GRACE PLLC




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                         Scottsdale, Arizona 85251




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